









Petition for Writ of Habeas Corpus Dismissed for Lack of Jurisdiction
and Memorandum Opinion filed September 29, 2005









Petition for Writ of
Habeas Corpus Dismissed for Lack of Jurisdiction and Memorandum Opinion filed
September 29, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00952-CV

____________

&nbsp;

IN RE GERALD D. McGOWAN, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF HABEAS CORPUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On September 9, 2005, relator Gerald
D. McGowan, who is confined in the Harris County Jail, filed a second
petition for writ of habeas corpus in this court.&nbsp; See Tex.
R. App. P. 52.&nbsp; In his petition,
relator sought to have this court order him released from custody, or
alternatively, reduce his bond amount to $5,000.&nbsp; 








According to his petition, relator did not file an
application for writ of habeas corpus in the trial court.&nbsp; We are unable to consider relator=s petition because our authority to
entertain petitions for writ of habeas corpus extends solely to the actions of
judges in civil cases.&nbsp; See Tex. Gov=t Code Ann. ' 22.221(d).&nbsp; Our habeas corpus jurisdiction in criminal
matters is appellate only, and we may not exercise original jurisdiction.&nbsp; See Ex Parte Denby, 627 S.W.2d 535,
435 (Tex. App.CHouston [1st Dist.] 1981, orig.
proceeding). 

Therefore, we dismiss relator=s petition for lack of jurisdiction

&nbsp;

PER CURIAM

&nbsp;

Petition Dismissed and Memorandum
Opinion filed September 29, 2005.

Panel consists of Chief Justice
Hedges and Justices Yates and Anderson.





